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                           UNITED STATES BANKRUPTCY COURT
                                 District of Illinois Northern
                                       Eastern Division

In re:
                                                    Case No. BKY
Woodlawn Community Development,

Debtor(s)                                           Chapter 11 Case


         STATEMENT REGARDING AUTHORITY TO SIGN AND FILE PETITION


       I, Leon Finney, Jr., declare under penalty of perjury that I am the President & CEO of
Woodlawn Community Development, a Illinois corporation and that on October 23, 2018 the
following resolution was duly adopted by the Board of Directors of this corporation:

       "Whereas, it is in the best interest of this corporation to file a voluntary petition in the
United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

       Be It Therefore Resolved, that Leon Finney, Jr., President & CEO of this corporation, is
authorized and directed to execute and deliver all documents necessary to perfect the filing of a
chapter 11 voluntary bankruptcy case on behalf of the corporation; and

        Be It Further Resolved, that Leon Finney, Jr., President & CEO of this corporation, is
authorized and directed to appear in all bankruptcy proceedings on behalf of the corporation, and
to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the corporation in connection with such bankruptcy case; and

       Be It Further Resolved, that Leon Finney, Jr., President & CEO of this corporation, is
authorized and directed to employ David R. Herzog, attorney and the law firm of Herzog &
Schwartz, P.C. to represent the corporation in such bankruptcy case."


Executed on: October 24, 2018                       Signed: ***E signature debtor TE***
                                                    Leon Finney, Jr. 6040 Harper Ave., 1st Floor,
                                                    Chicago, IL 60637 (Name and Address of
                                                    Subscriber)
